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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DEVIN MACK and LEANNA          :                CIVIL ACTION NO. 3:19-CV-992
RANDALL, on behalf of themselves
                               :
And similarly situated employees,
                               :                (Judge Conner)
                               :
             Plaintiffs        :
                               :
        v.                     :
                               :
RMLS-HOP RESTAURANTS PA, L.P., :
                               :
             Defendant         :

                                        ORDER

      AND NOW, this 6th day of November, 2020, upon consideration of plaintiffs’

motion (Doc. 45) to permit opt-in plaintiffs to join this action, and the parties’

respective briefs in support of and opposition to said motion, and the notice of

withdrawal of opt-in plaintiff Dijon Christian (Doc. 47), and for the reasons set forth

in the accompanying memorandum, it is hereby ORDERED that the motion

(Doc. 45) is GRANTED.



                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner
                                         United States District Judge
                                         Middle District of Pennsylvania
